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     LANGTON, on behalf of themselves and others similarly
 8   situated

 9
                                 UNITED STATES DISTRICT COURT
10
11                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

12
13   JOHN HUEBNER and IRMIN LANGTON,                Case No. 3:14-cv-04735-VC
     on behalf of themselves and others similarly
14   situated,                                      [Assigned to the Honorable Vince Chhabria]
15                         Plaintiffs,
                                                    DECLARATION OF JUSTIN
16                 v.                               KACHADOORIAN IN SUPPORT OF
                                                    PLAINTIFFS’ RESPONSE IN
17   RADARIS, LLC, a Massachusetts limited          OPPOSITION TO EMERGENCY MOTION
     liability company; RADARIS AMERICA,            FILED BY ACCURACY CONSULTING
18   INC., a Delaware corporation; and EDGAR        LTD. AND BITSELLER EXPERT LTD.
     LOPIN, an individual,
19
                           Defendants.
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 1                                 Declaration of Justin Kachadoorian

 2          I, Justin Kachadoorian, declare:

 3          1.     I am a competent adult, over the age of eighteen and counsel of record for plaintiffs

 4 John Huebner and Irmin Langton (“Plaintiffs”) in the above-captioned action.
 5          2.     I am an attorney at CounselOne, PC and have been involved in this case since its

 6 inception. The following is based upon my personal knowledge, and if called as a witness I could
 7 and would competently testify thereto.
 8          3.     Class Counsel began investigating radaris.com in or around the fall of 2013, and on

 9 December 14, 2013, they posted a website (radarisclassactionlawsuit.com) asking members of the
10 public about their experiences with radaris.com and advertising their legal services.
11          4.     In March 2014, Plaintiffs retained Class Counsel to prosecute this class action, and

12 on May 27, 2014, Plaintiffs sent letters to Radaris America, Inc. and Edgar Lopin. Plaintiffs
13 received no response to these letters.
14          5.     On April 29, 2014, a separate action was filed against Radaris America, Inc., Radaris,

15 LLC, and Edgar Lopin in Los Angeles Superior Court titled Doe v. Radaris, LLC, et al., Case No.
16 BC544146. The summons and complaint in that action were drop served on the defendants’ agent,
17 “who refused to accept service of process.” Attached hereto as Exhibit A is a true and correct copy
18 of the proof of service of summons filed in Doe v. Radaris, LLC, et al.
19          6.     In February 2015, after Radaris America, Inc. had defaulted and while Plaintiffs were

20 attempting to serve co-defendants Radaris, LLC and Edgar Lopin, Plaintiffs were contacted by
21 attorneys Matthew Shayefar and Val Gurvits of the Boston Law Group, located in Boston,
22 purportedly representing all three Defendants. The attorneys requested an extension of time to
23 respond to the Complaint. They also advised that Defendants wanted to mediate the case, and
24 engaged in discussions regarding the place for mediation and potential mediators: “Our client has
25 agreed to mediate this case in Boston in May, preferably before a US Magistrate Judge. Please let
26 us know if this is acceptable to you and we will begin preparations.”
27          7.     Plaintiffs notified the Boston attorneys of the first Case Management Conference

28 (“CMC”) in this action, and Plaintiffs sent them the Case Management Statement and arranged for
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 1 their telephonic participation at the CMC. On March 31, 2015, the morning of the CMC, the Boston
 2 attorneys advised that they would not appear on Defendants’ behalf in this matter.
 3          8.      They explained that while they believed the Boston Law Group was being retained,

 4 Defendants were rethinking the costs involved in defending the action but might still be agreeable
 5 to mediation in Boston.
 6          9.      When Plaintiffs inquired whether the Boston Law Group could accept service of

 7 process on April 3, 2015, the attorneys completely changed position. The Boston Law Group
 8 suddenly claimed they had not been retained, only that they had represented Defendants in the past,
 9 that they had no way to presently contact Defendants, and that they were not authorized to accept
10 service, though they somehow knew that Lopin may be in Russia.
11          10.     Attached hereto as Exhibit B is a true and correct copies of emails exchange between

12 the Boston Law Group and CounselOne, PC.
13          11.      On February 14, 2018, class counsel sent a letter and email to euroDNS, which is

14 the former domain name registrar for radaris.com, requesting compliance with the Court’s Order
15 and Judgment.
16          12.     EuroDNS refused to comply with the Court’s Order and Judgment. A true and

17 correct copy of the response from euroDNS to Class Counsel is attached hereto as Exhibit C.
18          13.     Thereafter class counsel requested Verisign, Inc., a US company that is the official

19 operator of the .com registry, to change the registrar of record from euroDNS to GoDaddy, Inc.,
20 another US company.
21          14.     Verisign complied with the Court’s order, and GoDaddy thereafter changed the

22 registrant to Plaintiffs care of class counsel.
23          15.     Pursuant to the Court’s Order [Dkt. No. 52, at ¶ 5.c], Plaintiffs instituted a domain

24 name redirection to http://radarisclassaction.com, whereon copies of this Order and other documents
25 related to this case are displayed.
26          16.     On March 2, 2018, I called Matthew Shayefar, counsel for Movants, to discuss a
27 resolution of the instant motion. During the call Mr. Shayefar refused to accept service on behalf
28 of his clients or otherwise engage with class counsel regarding the dispute.
                                                      2
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 1          17.    However,    following   the   call    I   proposed   suspending   the   redirect   to

 2 radarisclassaction.com until the Court decides the instant motion, to which proposal Mr. Shayefar
 3 has agreed.
 4          18.    On or around March 2, 2018, I performed a search for “Accuracy Consulting

 5 Limited” and “Accuracy Consulting Ltd.” at official websites in California,1 Delaware,2 and
 6 Massachusetts,3 as well as the Republic of Cyprus,4 but these searches returned no results.
 7          19.    On or around March 2, 2018, I performed a search of the Department of Registrar of

 8 Companies and Official Receiver in Cyprus (where the registrant of radaris.com is purportedly
 9 located) does not list any companies called “Accuracy Consulting Ltd.” The closest search result is
10 for an “Accuracy Consultancy Ltd.,” which is identified as “Not Registered Organization.”
11 Attached hereto as Exhibit D are true and correct copies of the search pages on the website
12 maintained by Department of Registrar of Companies and Official Receiver in Cyprus.
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26   https://businesssearch.sos.ca.gov/
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     https://icis.corp.delaware.gov/ecorp/entitysearch/namesearch.aspx
     2

27 3 http://corp.sec.state.ma.us/corpweb/CorpSearch/CorpSearch.aspx
   4
     https://efiling.drcor.mcit.gov.cy/DrcorPublic/SearchForm.aspx?sc=0&lang=EL&cultureInfo=en-
28 AU
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 1          20.     Attached hereto as Exhibit E are printouts from the historical WhoIs report for

 2 radaris.com that I obtained from DomainTools.com on March 4, 2018.
 3          I declare under penalty of perjury under the laws of the United States and the State of

 4 California that the foregoing is true and correct.
 5          Executed March 8, 2018.

 6
                                                        By: /s/ Justin Kachadoorian
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18                                    SIGNATURE ATTESTATION
            I, Alexandria Kachadoorian, am the ECF User whose ID and password are being used to file
19
     this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that concurrence in
20
     the filing of the document has been obtained from each of the other signatories.
21
                                                  By:       /s/ Alexandria Kachadoorian
22                                                          Alexandria Kachadoorian
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